               Case 4:98-cr-40043-JPG                    Document 304 Filed 10/20/09                           Page 1 of 3              Page ID
'!l;oAO 245D                                                       #160
               (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet I



                                       UNITED STATES DISTRICT COURT
                                                            Southern District of Illinois

          UNITED STATES OF AMERICA
                               v.
                   JASON B. SPICER

                                                                           Case No. 4:98CR40043-004-JPG
                                                                           USM No. 02961-025
                                                                             Judith Kuenneke, AFPD
                                                                                                     Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)             as alleged below                  of the term of supervision.
o   was found in violation of condition(s)               _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                                     Violation Ended
Statutory                           The defendant committed the offenses of Mob Action,                                06/11/2009

                                    Intimidation & Aiding & Ab~tting Armed Violence

Special                             The defendant failed to call On-sit Drug Testing Program                           01/18/2009



       The defendant is sentenced as provided in pages 2 through _--...::3::..-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa\d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4730

Defendant's Year of Birth:            1975

City and State of Defendant's Residence:
Herrin, IL 62948
                                                                                                 _. _.'
                                                                                                          Signature of Judge

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                                                                                                    Name and Title of Judge


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                                                     ADDITIONAL VIOLATIONS

                                                                                                          Violation
Violation Number              Nature of Violation                                                         Concluded
Standard # 2                  The defendant failed to file monthly reports timely                         12/20/2008



Standard # 9                  The defendant associated with a convicted felon                             06/11/2009
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  AO 2450                                                            #162
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

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  DEFENDANT: JASON B. SPICER
  CASE NUMBER: 4:98CR40043-004-JPG


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
50 months




      .t The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program.



      D The defendant is remanded to the custody of the United States Marshal.

      D     The defendant shall surrender to the United States Marshal for this district:
            D    at    ____________ D a.m.                           D     p.m.        on
            D    as notified by the United States Marshal.

      D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at   _________________ with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                  By
                                                                                                 DEPUTY UNITED STATES MARSHAL
